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                             EXHIBIT D
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                                                         ORDINANCE NO. 2022-5

              AN ORDINANCE OF THE BOARD OF COUNTY COMMISSIONERS OF BOULDER
                   COUNTY, COLORADO PROHIBITING THE SALE AND PURCHASE OF
                  ASSAULT WEAPONS, LARGE CAPACITY MAGAZINES, AND TRIGGER
                                        ACTIVATORS

             RECITALS

                     A.     Gun violence poses a grave public safety threat in Boulder County. According to
             data from Centers for Disease Control and Prevention, Wide-ranging Online Data for
             Epidemiologic Research, statewide in Colorado guns are the leading cause of death for children
             ages one through 17 and cause the deaths of nearly two thirds of women who are killed by
             intimate partners.

                     B.     Colorado has the 18th-highest gun death rate among the 50 states and saw elevated
             levels of mass shootings in 2020 and early 2021, when a mass shooter killed 10 people at a King
             Soopers in Boulder using an assault weapon and large-capacity magazines.

                     C.      Assault weapons are semiautomatic firearms with large ammunition capacities
             and specific features that are useful in military and criminal applications yet are unnecessary in
             shooting sports or self-defense. These weapons include semiautomatic assault rifles that can
             accept large-capacity magazines holding up to 100 rounds, and with features that enhance
             concealability, control, and the ability to fire many dozens of rounds without pause. They also
             include assault pistols and high-capacity "combat" shotguns.

                    D.      Assault rifles are semiautomatic versions of firearms. Although these
             semiautomatic versions of military firearms are marketed to civilians, they are military-grade
             weapons: the U.S. military has called semiautomatic rifle fire the "most important firing
             technique during fast-moving, modern combat" and "most accurate technique of placing a large
             volume of fire." These rifles fire bt1llets with a velocity three times greater than 9mm handguns,
             leaving softball-sized exit wounds much more likely to kill than to incapacitate victims.

                     E.      Perpetrators of the five deadliest shootings in modern U.S. history-Las Vegas,
             Orlando, Sandy Hook, Sutherland Springs, and El Paso-used assault rifles with military-style
             features. Colorado's deadliest mass shooters have also used assault rifles or pistols, including the
             Aurora movie theater shooter, who used an assault rifle and a 100-round drum magazine; and the
             King Soopers shooter, who used an AR-style pistol that an expert from the U.S. Bureau of
             Alcohol, Tobacco, Firearms and Explosives ("ATF") described as "made for the military and
             desi gned for short-range combat."

                     F.      Researchers have found that firearm purchasers with criminal histories are more
             likely to buy assault weapons, and that probability was even higher if purchasers have more
             serious criminal histories. These weapons are regularly used in violent crime beyond mass
             shootings, including violence against law enforcement officers.

                    G.      Assault weapons are inappropriate for civilian use due to their unique features that
             allow shooters to rapidly fire a large number of rounds-more than is ever needed for lawful



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                  -
             self-defense-while   maintaining control of the firearm in order to accurately target and l,ill 1nore
             victims. Specific features that allow an assault weapon to perform this way are:

                             •   Detachable magazine: Firearms that can accept detachable n1agazines allow a
                                 shooter to attach magazines of any size available for the firearm and quickly
                                 reload the weapon with pre-filled magazines. In some cases, magazines can
                                 hold as many as 100 rounds, but even smaller detachable magazines can
                                 greatly increase firepower.

                             • Pistol grip: To counteract the movement that occurs during rapid fire, assault
                               weapons are typically equipped with features that allow the shooter to steady
                               the weapon. A pistol grip, not typically found on a sporting rifle or shotgun
                               (which would be fired from the shoulder), allows the shooter to control the
                               firearm more accurately-and lethally-by maneuvering the weapon or
                               shooting from the hip during rapid fire;

                             • Thumbhole stock: As with a pistol grip, a thumbhole stock allows the shooter
                               to control the firearm during rapid fire;

                             •   Folding or telescoping stock: A folding or telescoping stock folds or collapses
                                 to make the weapon easier to conceal and transport;

                             •   Flash Suppressor: A flash suppressor enables a shooter to mask their location
                                 by reducing the visible signature of the firearm when it fires; and

                              • Barrel shroud: As with a pistol grip and thumbhole stock, a barrel shroud
                                allows the shooter to steady the firearm during rapid fire. The shroud encircles
                                the barrel of the firearm and allows the shooter to hold it without getting
                                burned.

                         H. In addition to military-style assault rifles, gun manufacturers have also begun
                 marketing AK-style and AR-style pistols with the same features that enable a shooter to
                 continue shooting the weapon numerous times without losing control over it. These pistols
                 are also desi gned to fire rifle rounds capable of penetrating body armor, but which are
                 concealable like handguns.

                         I. AK-style and AR-style pistols pose a similar if not identical threat to public safety
                 as do short-barreled rifles, because of their short length and ability to fire rifle rounds that
                 ca11 penetrate ballistic resistant vests worn by patrol officers. Because their lethality is on par
                 with highly restricted short-barreled rifles, armor-piercing, concealable firearms have been
                 used in murders across the country, including at the 2021 King Soopers shooting in Boulder
                 and at the 2019 mass shooting in Dayton, Ohio.

                           J. High-capacity "tactical" or "combat" shot guns are assault weapons modeled after
                   firearms originally used for riot control by forei gn law enforcement. After the Armsel
                   Striker, popular in South Africa and marketed in the U.S. as the Street Sweeper, was
                   designated a "destructive device" under the National Firearms Act, gumnakers desi gned
                   workaround weapons as powerful as the Street Sweeper that inflict catastrophic injuries by



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                  rapidly firing a dozen or more shotgun slugs. These weapons are unfit for lawful sporting or
                  self-defense uses.

                          K. At the 2017 Mandalay Bay shooting in Las Vegas, Nevada, the shooter modified
                  semiautomatic assault rifles with bump stocks so they could fire at speeds approaching fully
                  automatic machine guns. Bump stocks, as well as binary triggers, burst triggers, rotating
                  trigger cranks, and other after-market rapid-fire trigger activators enable firing many rounds
                  per second and serve no lawful self-defense function.

                           L. Several years after the Las Vegas shooting drew attention to the dangers of
                  bump stocks that give shooters automatic firepower, the ATF adopted a federal rule
                  effectively banning their possession. However, local action is needed to restrict other rapid­
                  fire trigger activators.

                         M. Large-capacity magazines are ammunition feeding devices that hold more than
                  IO rounds and may hold as many as I 00 rounds of ammunition. Mass shootings that involve
                  large-capacity magazines result in nearly five times as many people shot compared to mass
                  shootings that do not involve high-capacity magazines. These magazines increase the
                  number of victims injured and killed by enabling shooters to fire more rounds before
                  reloading-a critical moment when criminal shooters can be stopped before they can further
                  increase their death tolls.

                          N. Large-capacity magazines also make gun violence far more lethal in situations
                  other than mass shootings, including interpersonal gun violence and shootings by organized
                  crime or street groups.

                          0. The Board of County Commissioners of Boulder County is unaware of any
                  reported incidents in Boulder County or nationally where a civilian who was engaged in
                  self-defense fired more than IO rounds of a large-capacity 1nagazine to fend off an attack. In
                  Worman v. Healey, 922 F.3d 26 (1st Cir. 2019), the court noted that even six expert
                  witnesses could not identify a single example of a self-defense episode in which ten or 1nore
                  shots were fired. Conversely, numerous high-profile mass shootings nationally and within
                  Colorado have been carried out with large-capacity magazines, including the Boulder King
                  Soopers shooting and the Aurora movie theater shooting.

                         P. In 1994, a federal ban on the man1Ifact11re, transfer and possession of assa11lt
                  weapons and the transfer and possession of large-capacity magazines was enacted, but the
                  law included a I 0-year sunset provision. In 2004, Congress allowed the law to expire.

                          Q. Studies show that tl1e federal assault weapon ban resulted in a marked decrease in
                  the use of assault weapons and large-capacity magazines in crime.

                          R. State-level prohibitions on large-capacity magazines have been shown to reduce
                  the frequency and lethality of the deadliest mass shootings-strong evidence that regional
                  and local legislation can be effective. A peer-reviewed study published in the American
                  Journal of Public Health found that "states without an LC!vl ban experienced significantly
                  more high-fatality mass shootings and a higher death rate from such incidents," seeing more
                  than double the number of such shootings and three times the number of deaths from high-



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                  fatality mass shootings, as con1pared to states that ban large-capacity magazines.

                          S. Survey data and gun-industry supplied statistics suggest that, at most, only a
                  small fraction of U.S. gun owners possess semiautomatic assault rifles and private
                  ownership of these weapons is concentrated in the hands of super-owners who have 10 or
                  more firearms.

                         T. The nation has a historical tradition of regulating weapons that are unusual and
                  dangerous, and this tradition supports the adoption of regulations that prohibit the carrying
                  of dangerous and unusual weapons. N.Y. State Rifle & PistolAss'n v. Bruen, 142 S.Ct. 2111
                  (2022); Dist. ofColumbia v. Heller, 554 U.S. 570 (2008).

                           U. Because assault weapons, trigger activators, and large-capacity magazines are
                  designed for and have repeatedly been used to inflict mass casualties and enable other
                  violent crimes, and the fact that these weapons and accessories are ill-suited to and
                  u1111ecessary for respo11sible self-defe11se, a11d are 11ot cl1ose11 or used by 111ost law-abidi11g
                  gun owners for this purpose, tl1e Board of County Commissioners of Boulder County finds
                  that it is in the best interests of the health, safety, and welfare of Boulder County residents to
                  prohibit the sale, manufacture, and transfer of assault weapons, rapid-fire trigger activators,
                  and large-capacity magazines.

                           V. Pursuant to Section 30-11-101(2) of the Colorado Revised Statutes, a county has
                     the authority to adopt and enforce ordinances regarding issues of health, safety, and
                     \VeIfare.
                         W. Pursuant to Section 29-11. 7-103 of the Colorado Revised Statutes, a county has
                  the authority to adopt and enforce ordinances regulating the sale, purchase, transfer and
                  possession of firearms.



             BE IT ORDAINED, by the Board of County Commissioners of Boulder County, the following:

             SECTION 1, DEFINITIONS

                 (a)         "Assault weapon" means any:

                       (I)      Semiautomatic center-fire rifle that has the capacity to accept a detachable
                                magazine and has one or more of the following characteristics:

                                   (i)     A pistol grip or thumbhole stock;

                                   (ii)    Any feature capable of functioning as a protruding grip that can be
                                           held by the non-trigger hand;

                                   (iii)   A folding or telescoping stock;

                                   (iv)    A flash suppressor;




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                                     (v)     A shroud attached to the barrel, or that partially or completely
                                             encircles the barrel, allowing the bearer to hold the firearm with the
                                             non-trigger hand without being burned, but excluding a slide that
                                             encloses the barrel.

                     (2)          Semiautomatic center-fire pistol that has the capacity to accept a detachable
                                  ammt1nition feeding device and any one of the following:

                                     (i)     A threaded barrel;

                                     (ii)    A second pistol grip, or second other feattrre capable of ft1nctioning as
                                             a protruding grip that can be held by the non-trigger hand;

                                     (iii)   A shroud attached to the barrel, or that partially or completely
                                             encircles the barrel, allowing the bearer to hold the firearm with the
                                             non-trigger hand without being burned, but excluding a slide that
                                             encloses the barrel;

                                     (iv)    A flash suppressor;

                                     (v)     The capacity to accept a detachable ammunition feeding device at
                                             some location outside of the pistol grip;

                                     (vi)    A manufactured weight of 50 ounces or more when unloaded; or

                                     (vii)   A buffer tube, arm brace, or other part that protrudes horizontally
                                             behind the pistol grip.

                           (3)       Semiautomatic center-fire pistol with a fixed magazine that has the capacity to
                                     accept more tha11 10 rounds.

                           ( 4)      Semiautomatic shotgun that has one or more of the followi11g features:

                                     (i)     A pistol grip or thumbhole stock;

                                     (ii)    Any feature capable of functioning as a protruding grip that can be
                                             held by the non-trigger hand;

                                     (iii)   A folding or telescoping stock;

                                     (iv)    A fixed magazine capacity in excess of 5 rounds; or

                                     (v)     An ability to accept a detachable magazine.

                           (5) Any firearm that has been modified to be operable as an assault weapon as
                               defined herein;

                           (6) Any part or combination of parts desi gned or intended to convert a firearm into an
                               assault weapon, including any combination of parts from which an assault weapon



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                               may be readily assembled if those parts are in the possession or under the control
                               of the same person.

                 (b) "Assault weapon" does not include any firearm that has been made permanently
                     inoperable, an antique firearm manufactured before 1899, or a replica of an antique
                     firearm.

                 (c) "Large-capacity magazine" or "LCD" means any ammunition feeding device with the
                     capacity to accept more than 10 rounds, but shall not be construed to include any of the
                     following:

                         (I)       A feeding device that has been permanently altered so that it cannot
                                   accommodate more than IO rounds.

                         (2)       A .22 caliber tube ammunition feeding device.

                         (3)       A tubular magazine that is contained in a lever-action firearm.

                 (d) "Rapid-fire trigger activator" means any device, includi11g a removable manual or power­
                     driven activating device, constructed so that, when installed in or attached to a
                     semiautomatic firearm:

                         (I)      the rate at which the trigger is activated substantially increases; or

                         (2)      the rate of fire substantially increases.

            SECTION 2. PROHIBITION ON SELLING AND PURCHASING ASSAULT WEAPONS,
              LARGE-CAPACITY MAGAZINES, OR RAPID-FIRE TRIGGER ACTIVATORS

                     (a) No person, corporation or other entity in unincorporated Boulder County may
                         manufacture, import, purchase, sell or transfer any assault weapon, large-capacity
                         magazine, or rapid-fire trigger activator.

                     (b) Section (a) shall not apply to:

                         (I)      Any government officer, agent, or employee, member of the armed forces of
                                  the United States, or peace officer, to the ex1:ent that such person is otherwise
                                  authorized to acquire or possess an assault weapon and/or large-capacity
                                  magazine, and does so while acting within the scope of his or her duties; or

                         (2)      T11e manufacture of an assault weapon or large-capacity magazine for the
                                  pt1rpose of sale to any branch of the armed forces of the United States, or to a
                                  law enforcement agency in unincorporated Boulder County for use by that
                                  agency or its employees, provided the manufacturer is properly licensed under
                                  federal, state and local laws.

                         (3)      T11e sale or transfer of an assault weapon or large-capacity magazine by a
                                  dealer that is properly licensed under federal, state and local laws to any




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                                   branch of the armed forces of the United States, or to a law enforcement
                                   agency in unincorporated Boulder County for use by that agency or its
                                   employees for law enforcement purposes.

                         (4)       The transfer of an assault weapon to a licensed gunsmith for the purpose of
                                   lawful repair.

                         ( 5)      The transfer of an assault weapon, large-capacity magazine, or trigger
                                   activator to the Boulder County Sheriff's Office for the purpose of
                                   surrendering the weapon, LCD or trigger activator.

             SECTION 3. VIOLATIONS AND PENALTIES

                     Any violation of this ordinance by a person who knew or reasonably should have known
             that their conduct was prohibited is a misdemeanor and upon conviction shall be punished by a
             fine of not more than one thousand dollars, by incarceration of up to one year in jail, or by both
             such fine and incarceration.

             SECTION 4. SEVERABILITY

                     If any section, clause, sentence, or part of this ordinance is adjudged by any court of
             competent jurisdiction to be invalid, such invalidity shall not affect, impair, or invalidate the
             other provisions of this ordinance which can be given effect without such invalid provision.

             SECTION 5. SAFETY CLAUSE

                      This ordinance shall take effect immediately upon its adoption. This ordinance is
             necessary to protect the public health, safety, and welfare of the residents of the county due in
             part to the need to control the activity subject to this ordinance as soon as possible.

             ADOPTED WITH AMENDMENTS ON SECOND AND FINAL READING at a public hearing
                  August 2, 2022
             on                            •




                                                                     THE BOARD OF COMMISSIONERS
                                                                     OF THE COUNTY OF BOULDER, COLORADO



                                                                      Marta Loachamin, Chair
             ATTEST:


             Name: Cecilia Lacey
             Clerk to the Board




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                                          CERTIFICATION AND ATTESTATION

                     I, Molly Fitzpatrick, Boulder County Clerk and Recorder, do hereby certify that the
             foregoing Ordinance No. 2022-5, entitled "AN ORDINANCE OF THE BOARD OF
             COUNTY COMMISSIONERS OF BOULDER COUNTY, COLORADO PROHIBITING
             THE SALE AND PURCHASE OF ASSAULT WEAPONS, LARGE CAPACITY
             MAGAZINES, AND TRIGGER ACTIVATORS" is a true, correct and complete copy from
             the records in my office, that said ordinance was duly adopted by the Board of County
             Commissioners of the County of Boulder. The first reading of Ordinance 2022-5 took place on
             July 5, 2022, at a regular Board of County Commissioners Meeting. It was published in full in
             the Boulder Daily Camera on July 8, 2022. The Ordinance was adopted with amendments on
             second reading at a public hearing held before the Board of County Commissioners on August 2,
             2022. Further, one (1) copy of the Ordinance is now filed in the office of the Clerk and Recorder
             for the County of Boulder, Colorado, and may be inspected during regular business hours.




                                                                                    Clerk and Recorder




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